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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA




SAAD ALJABRI,
     Plaintiff,
v.                                      Civil Action No. 20-2146 (TJK)


MOHAMMED BIN SALMAN BIN
ABDULAZIZ AL SAUD, et al.,
     Defendants.



          DECLARATION OF ANDREW C. SHEN IN SUPPORT OF
     DEFENDANT MOHAMMED BIN SALMAN BIN ABDULAZIZ AL SAUD’S
             MOTION TO DISMISS AMENDED COMPLAINT
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        I, Andrew C. Shen, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury

that:

        1.     I respectfully submit this Declaration in Support of Defendant Mohammed bin

Salman bin Abdulaziz Al Saud’s Motion To Dismiss Amended Complaint.

        2.     I am a partner in the law firm of Kellogg, Hansen, Todd, Figel & Frederick,

P.L.L.C. in Washington, D.C., which represents His Royal Highness Mohammed bin Salman bin

Abdulaziz Al Saud (“the Crown Prince” or “Prince Mohammed bin Salman”) in this litigation.

The following facts are based on my personal knowledge or on information provided to me.

If called upon as a witness, I could and would testify competently to them.

        3.     Attached as Exhibit A is a true and correct copy of the January 27, 2021 Reasons

on Ex-Parte Orders issued by the Ontario Superior Court of Justice in Sakab Saudi Holding

Company v. Saad Khalid S Al Jabri.

        4.     Attached as Exhibit B is a true and correct copy of the March 11, 2021 Ruling on

Set Aside Motions issued by the Ontario Superior Court of Justice in Sakab Saudi Holding

Company v. Saad Khalid S Al Jabri.

        5.     Attached as Exhibit C is a true and correct copy of the October 4, 2017 request of

the National Central Bureau of INTERPOL of the Kingdom of Saudi Arabia for the issuance of a

red notice concerning Saad Aljabri (Control No. A-267/1-2018).

        6.     Attached as Exhibit D is a true and correct copy of the July 4, 2018 Decision of

the Commission for the Control of INTERPOL’s Files in Request Concerning Saad Aljabri

(Ref. CCF/R960.17).




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       7.      Attached as Exhibit E is a true and correct copy of the January 22, 2021 Mareva

Injunction Order issued by the Ontario Superior Court of Justice in Sakab Saudi Holding

Company v. Saad Khalid S Al Jabri.

       8.      Attached as Exhibit F is a true and correct copy of the April 1, 2021 Declaration

of Fahad Nasser Al Arfaj in Support of Defendants’ Motions To Dismiss.

       9.      Attached as Exhibit G is a true and correct copy of the June 21, 2017 (1438/09/26

AH) press release published by the Saudi Press Agency announcing that His Majesty King

Salman bin Abdulaziz Al Saud (“King Salman”) had issued a royal order selecting Prince

Mohammed bin Salman to serve as Crown Prince of the Kingdom of Saudi Arabia.

       10.     Attached as Exhibit H is a true and correct copy of the January 23, 2015

(1436/04/03 AH) press release published by the Saudi Press Agency announcing that King

Salman had issued a royal decree appointing Prince Mohammed bin Salman to the position of

Minister of Defense of the Kingdom of Saudi Arabia.

       11.     Attached as Exhibit I is a true and correct copy of Royal Order A/292, issued July

21, 2017 (1438/10/26 AH), appointing the Crown Prince to the position of Chairman of the

Council of Political and Security Affairs of the Kingdom of Saudi Arabia, and a certified

translation of the same.

       12.     Attached as Exhibit J is a true and correct copy of the November 4, 2017

(1439/02/15 AH) press release published by the Saudi Press Agency announcing that King

Salman had issued a series of royal orders concerning the formation and mandate of the Supreme

Anti-Corruption Committee of the Kingdom of Saudi Arabia.




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       13.     Attached as Exhibit K is a true and correct copy of Royal Order No. 44935, issued

June 23, 2017 (1438/09/28 AH), granting the Crown Prince various oversight authorities, and a

certified translation of the same.

       14.     Attached as Exhibit L is a true and correct copy of a record of the Public

Prosecution’s Office setting forth the charges and judgments against Omar bin Saad bin Khaled

Al Jabri and Sarah bint Saad bin Khaled Al Jabri, and a certified translation of the same.

       15.     Attached as Exhibit M is a true and correct copy of the December 7, 2020

Declaration of Sujit Choudhry in Support of Defendants’ Motions To Dismiss.



       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Dated: April 5, 2021
Washington, D.C.

                                                     ___________________________________
                                                               Andrew C. Shen




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